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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

CASE NO.
RAYMOND GAGNON PLAINTIFF
V.
UNITED STATES OF AMERICA DEFENDANTS
and SHERRI ANDRADE

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COMPLAINT FOR DAMAGES UNDER THE FEDERAL TORT CLAIMS ACT

Plaintiff, Raymond Gagnon (“Gagnon”), by counsel, for his Complaint against the
Defendant, United State of America, states as follows:

INTRODUCTION

. This is an action against the Defendant United States of America under the Federal Tort Claims
Act, (28 U.S.C. §2671, et seq.) and 28 U.S.C. §1346(b)(1), for negligence in connection with an
automobile accident which occurred on August 14, 2013 in Providence, Rhode Island. The
claims herein are brought against the Defendants pursuant to the Federal Tort Claims Act (28
U.S.C. §2671, et seg.) and 28 U.S.C. §1346(b)(1), for money damages as compensation for
personal injuries caused by the Defendant’s negligence.

. Plaintiff Gagnon has fully complied with the provisions of 28 U.S. §2675 of the Federal Tort
Claims Act. Standard Form 95 attached as Exhibit 1.

. This suit has been timely filed, in that Plaintiff Gagnon timely served notice of his claim on the
United States Postal Service less than two years after the incident forming the basis of this suit.
. Plaintiff Gagnon is now filing this Complaint pursuant to 28 U.S.C. § 2401(b) after receiving
from the United States Postal Service, Law Department, National Tort Center the January 3,
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2018 notice of “final denial of administrative claim.” Administrative Tort Claim Denial Letter

attached as Exhibit 2

PARTIES, JURISDICTION AND VENUE

Plaintiff Raymond Gagnon is, and all times relevant hereto was, a resident of the City of
Pawtucket, County of Providence, State of Rhode Island.

Defendant, United States of America, through its agency, the United States Postal Service owns
and operates postal trucks in the delivery of mail and operates the United States Postal Office
located at 2055 Diamond Hill Road, Cumberland, RI.

Defendant, SHERRI ANDRADE is, and all times relevant hereto was a resident of the City of
Pawtucket, County of Providence, State of Rhode Island.

At all times relevant hereto, Defendant SHERRY ANDRADE was an employee of the United
States Postal Service.

Defendant UNITED STATES OF AMERICA through its agency, the UNITED STATES
POSTAL SERVICE is responsible for the negligent acts of its employees and agents

On or about August 14, 2013 Plaintiff, RAYMOND GAGNON, was operating a motor vehicle,
with the permission of its owner, Pascale Service Corp. northbound on Broad Street in Town of
Cumberland, State of Rhode Island.

On or about August 14, 2013 Defendant, SHERRI ANDRADE, was operating a motor vehicle
with the permission of its owner, UNITED STATES POSTAL SERVICE, which is an agency of
Defendant, UNITED STATES OF AMERICA westbound on Blackstone Street, in the Town of
Cumberland, State of Rhode Island.

On or about August 14, 2013, Defendant, SHERRI ANDRADE negligently caused the motor
vehicle she was operating to collide with the Plaintiff's motor vehicle.

At all times Plaintiff, RAYMOND GAGNON, was in the exercise of due care.

As a direct and proximate result of the negligence of the Defendant, SHERRI ANDRADE,
Plaintiff, RAYMOND GAGNON, sustained injuries which some are permanent, suffered pain
and discomfort of the body, a loss of enjoyment of life, suffered a loss of wages and/or earning
capacity, and incurred expensed for proper medical care and treatment.

Jurisdiction is proper under 28 U.S.C. §1346(b)(1).
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16. Venue is proper under 28 U.S.C. §1402(b) in that all, or a substantial part of the acts and

omissions forming the basis of these claims occurred in the District of Rhode Island.

WHEREFORE, Plaintiff, RAYMOND GAGNON, does hereby pray that judgment be

entered in his favor and against the Defendants as follows:

1. Medical expenses, lost wages, pain and suffering, future impairment, and loss of

enjoyment of life totaling $175,000.00; and

2. Costs and attorneys’ fees incurred in this civil action, together with such further and

additional relief at law of in equity that this Court may deem proper.

PLAINTIFF’S DEMAND FOR JURY TRIAL
Plaintiff, hereby demands a Trial by Jury in the above-entitled case.

Dated: June 26, 2018

Respectfully submitted,

/s/ Michael A. St. Pierre

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